                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE

 JAMES E. BOSTIC,                             )
                                              )
               Plaintiff,                     )
                                              )
 v.                                           )      No.:   3:20-CV-218-TAV-DCP
                                              )
 TENNESSEE DEPARTMENT                         )
 OF CORRECTION,                               )
 BCCX, and                                    )
 BLEDSOE PRISON STAFFS,                       )
                                              )
               Defendants.                    )


                                  JUDGMENT ORDER

        For the reasons set forth in the memorandum opinion filed contemporaneously with

 this order, plaintiff’s pro se complaint for violation of 42 U.S.C. § 1983 is DISMISSED

 pursuant to Rule 41(b) of the Federal Rules of Civil Procedure. Because the Court has

 CERTIFIED in the memorandum opinion that any appeal from this order would not be

 taken in good faith, should Plaintiff file a notice of appeal, he is DENIED leave to appeal

 in forma pauperis. See 28 U.S.C. § 1915(a)(3); Fed. R. App. P. 24. The Clerk is

 DIRECTED to close the file.

        IT IS SO ORDERED.


                                    s/ Thomas A. Varlan
                                    UNITED STATES DISTRICT JUDGE


 ENTERED AS A JUDGMENT
     s/ John L. Medearis
    CLERK OF COURT



Case 3:20-cv-00218-TAV-DCP Document 10 Filed 10/21/20 Page 1 of 1 PageID #: 65
